           Case 2:20-cr-00151-ODW Document 21 Filed 04/24/20 Page 1 of 1 Page ID #:51
  VICTOR SHERMAN, ESQ.(SBN: 38483)
  LAW OFFICES OF VICTOR SHERMAN
  A Professional Law Corporation
  1 1400 West Olympic Boulevard, Suite 1500
  Los Angeles, California 90064
  Tel:(424)371-5930
  Fax:(310)392-9029


                                               UNITED STATES DISTRICT COURT
                                              CENTRAL DISTRICT OF CALIFORNIA
   UNITED STATES OF AMERICA,                                          CASE NUMBER


                                                          PLAINTIFF
                                                                                        CR 20-00151-ODW
                                      V.


 JESSIE DEBORA
                                                                                     APPLICATION FOR
                                                                          REVIEW/RECONSIDERATION OF ORDER
                                                                                SETTING CONDITIONS OF
                                                      DEFENDANT.
                                                                                 RELEASE/DETENTION
                                                                      (18 U.S.C. §3142) AND REQUEST FOR HEARING

       Application is made by □ plaintiff       defendant Jessie Debora
  that a hearing be held to review /reconsider the decision of

  ^United States District Judge John E. McDermott                             by order dated: 3/02/2020

  □ Magistrate Judge                                                          by order dated:

       I?r denying release and imposing detention under subsection □ (d) or Bf(e) of Title 18 U.S.C. §3142; or
       □ ordering release upon certain conditions, or
       □ denying detention.

       This application is made l^pre-sentence □ post-sentence based on the following facts not previously considered by
  said judicial officer or changed circumstances as follows:
  Jessie Debora is severely asthmatic, requires breathing treatment when sick, and is thus susceptible to corona-virus. See
  attached medical records. Jessie's grandparents, Julian and Bertha Debora, are each willing to sign for a $50k surety bond.
  Jessie's sister, Kassandra Suarez, is willing to sign for $20k. Jessie's trial, is now scheduled for 9/15/20, which would result
  in 7 months of pretrial detention if Jessie is not released on bail. See attached Order of Court. Jessie has gainful employment
       Relief sought (be specific):                                                              "PO" please. See attached letter.
 $120,000.00 personal security bond signed by defendant and with Affidavits of Surety (No Justification) signed by
  grandparents (50,000.00 each) and $20,000 signed by sister.



       Counsel for the defendant and plaintiff United States Government consulted on 4/24/2020
  and opposing counsel declines to stipulate to an order providing the relief sought.

  5^ Telephonic notice given to (^AUSA □ Defendant's Counsel □ PSA □ Interpreter □ USM □ Probation
  on 4/24/2020                                        .

       An interpreter is □ required sfnot required. Language
       Defendant is       in custody □ not in custody.

  4/24/2020                                                           Victor Sherman
  Date                                                                Moving Party



                           APPLICATION FOR REVIEW/RECONSIDERATION OF ORDER SETTING CONDITIONS OF
                                  RELEASE/DETENTION, (18 U.S.C. §3142) AND REQUEST FOR HEARING
CR-88 (06/07)
